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        ALEX AGUILAR and P.A., By and Through Her Guardian Ad Litem
    9
   10                         UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   11
   12 ALEX AGUILAR, JR., and                CASE NO:
      P.A., by and through her
   13
      Guardian Ad Litem, Florence           COMPLAINT FOR DAMAGES:
   14 Ahumada, AND THE ESTATE               (1) DEPRIVATION OF CIVIL
      OF ALEX AGUILAR SR.,                       RIGHTS, 42 U.S.C.
   15
                                                 §1983,INDIVIDUAL LIABILITY;
   16                   Plaintiffs,         (2) DEPRIVATION OF CIVIL
                                                 RIGHTS, 42 U.S.C. §1983,
   17
                       vs.                       MONELL VIOLATIONS.
   18                                        (3) DEPRIVATION OF CIVIL
      CITY OF LOS ANGELES,                       RIGHTS, 42 U.S.C. §1983,
   19
      CHIEF CHARLIE BECK, AND                    SUPERVISORY LIABILITY;
   20 DOES 1-10, INCLUSIVE,                 (4) NEGLIGENCE;
                                            (5) VIOLATION OF GOVERNMENT
   21
                        Defendants.              CODE § 845.6 – FAILURE TO
   22                                            PROVIDE IMMEDIATE
                                                 MEDICAL CARE;
   23
                                            (6) VIOLATION OF CALIFORNIA
   24                                            CIVIL CODE § 51.2;
                                            (7) ASSAULT AND BATTERY;
   25

   26                                       DEMAND FOR JURY TRIAL
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    1                                   I. INTRODUCTION
    2         1.    This is a civil rights and wrongful death/survival action that seeks
    3 compensatory and punitive damages from Defendants in relation to the death of
    4 Alex Aguilar Sr. (“decedent”) on June 9, 2016, which occurred while he was in the
    5 custody of the Los Angeles Police Department (“LAPD”). By their wrongful acts
    6 and omissions, Defendants caused Alex Aguilar Sr. and Plaintiffs, his children and
    7 successors in interest, to be deprived of rights, privileges, and immunities secured
    8 by the Constitution and laws of the United States and the State of California.
    9                           II. JURISDICTION AND VENUE
   10         2.    This action is brought by Plaintiffs ALEX AGUILAR, JR., P.A., and
   11 the ESTATE OF ALEX AGULAR SR. It asserts causes of action under, inter alia,
   12 42 U.S.C. § 1983, California Government Code § 845.6, and California common
   13 law.
   14         3.    This Court has jurisdiction over the federal civil rights claims alleged
   15 herein pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343(civil
   16 rights). As Plaintiffs’ state law claims arise out of a common nucleus of facts, the
   17 court has jurisdiction over them pursuant to 28 U.S.C. § 1367 (supplemental
   18 jurisdiction).
   19
              4.    The acts and omissions complained of occurred on June 9, 2016, within

   20
        the Central District of California. Therefore, venue lies in this District pursuant to
        28 U.S.C. § 1391.
   21
              5.    Plaintiffs timely filed an administrative claim with the City of Los
   22
        Angeles pursuant to Cal. Gov’t Code § 910. The claim was denied on December
   23
        19, 2016.
   24

   25
                                           III. PARTIES
   26
              6.    Plaintiff P.A., a 10 year old minor, is the daughter and a successor in
   27
        interest and an heir at law of Alex Aguilar Sr., the deceased. Florence Ahumada is
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    1 seeking appointment of the Court as Guardian ad Litem for P.A. Ms. Ahumada is
    2 the grandmother of P.A., and P.A. has resided at Ms. Ahumada’s home in the
    3 Central District of California for the past eight years. Plaintiff P.A. is a resident of
    4 the State of California and resided within the jurisdiction of the State of California
    5 at all times herein alleged. She brings this claim for herself personally, as Alex
    6 Aguilar Sr.’s successor in interest and heir, as the personal representative of the
    7 estate, and, as applicable, pursuant to California Code of Civil Procedure
    8 §§ 377.30 and 377.60.
    9        7.   Plaintiff ALEX AGUILAR JR. is the son, a successor in interest and an
   10 heir at law of Alex Aguilar Sr., the deceased. Plaintiff is a resident of the State of
   11 California and resided within the jurisdiction of the State of California at all times
   12 herein alleged. He brings this claim for himself personally, as Alex Aguilar’s
   13 successor in interest and heir, as the personal representative of the estate and, as
   14 applicable, pursuant to California Code of Civil Procedure §§ 377.30 and 377.60.
   15        8.   Defendant CITY OF LOS ANGELES is, and at all times herein alleged
   16 was, a public entity organized and existing under the laws of the State of
   17 California. The Los Angeles City Police Department (“LAPD”) is, and at all times
   18 herein alleged was, an agency of the City of Los Angeles.
   19        9.   Defendant Chief CHARLIE BECK is the Chief and Supervisor of the
   20 Los Angeles Police Department. He is sued in his official and individual capacity.

   21 He was charged by law and was responsible for the supervision of police officer

   22 DOES 1 through 20 and other employees under his command in LAPD and for the

   23 training, reprimands and corrective actions of persons, agents and employees

   24 working under his chain of command within said LAPD.

   25        10. Plaintiffs are informed and believe and thereon allege that Defendants
   26 sued herein as DOES 1 through 10, inclusive, were employees of the CITY OF

   27 LOS ANGELES, including but not limited to officers of the LAPD, and were at all

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    1 relevant times acting in the course and scope of their employment and agency.
    2 Each Defendant is the agent of the other. Plaintiffs allege that each of the
    3 Defendants named as a "DOE" was in some manner responsible for the acts and
    4 omissions alleged herein, and Plaintiffs will ask leave of this Court to amend the
    5 Complaint to allege such names and responsibility when that information is
    6 ascertained.
    7                            IV. GENERAL ALLEGATIONS
    8         11. Plaintiffs are informed and believe, and thereon allege, that, at all times
    9 herein mentioned, each of the Defendants was the agent and/or employee and/or
   10 co-conspirator of each of the remaining Defendants, and in doing the things
   11 hereinafter alleged, was acting within the scope of such agency, employment
   12 and/or conspiracy, and with the permission and consent of other co-Defendants.
   13         12. Each paragraph of this complaint is expressly incorporated into each
   14 cause of action which is a part of this complaint.
   15         13. The acts and omissions of all Defendants were engaged in maliciously,
   16 callously, oppressively, wantonly, recklessly, and with deliberate indifference to
   17 the rights of Plaintiff.
   18                            V. FACTUAL ALLEGATIONS
   19         14. On June 9, 2016, at approximately 6:30 p.m., LAPD Officer Noriega
   20 arrested Alex Aguilar Sr. for being an unlicensed driver and having no proof of

   21 insurance, in violation of California Vehicle Code §§ 12500 and 16028(a). LAPD

   22 Officers took Mr. Aguilar into custody of the Los Angeles Police Department

   23 (LAPD) at the Harbor Community Police Station at 2175 John S. Gibson

   24 Boulevard, San Pedro, California 90731.

   25         15. At the Harbor Community Police Station, Mr. Aguilar was placed in a

   26 holding cell at which time two officers, DOE #1 and DOE #1, began a strip search

   27
        of Mr. Aguilar.

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    1         16. Upon information and belief, upon being searched and removing items
    2 of his clothing, Mr. Aguilar placed a small bindle of heroin covered by a green
    3 plastic bag into his mouth with the intention of swallowing it. Upon placing the
    4 small bindle in his mouth, officers DOE #1 and DOE #2 began beating Mr. Aguilar
    5 and grabbing at his throat, ordering him to spit out the controlled substance. The
    6 beating of Mr. Aguilar resulted in multiple blunt force injuries to his head.
    7         17. After a short time period, officer DOE #1 discharged his TASER X26
    8 electrical control device, causing two metallic darts to be lodged into Mr. Aguilar’s
    9 body. As a result of the discharge of the TASER X26 into Mr. Aguilar’s body,
   10 50,000 volts of electricity was placed into Mr. Aguilar, triggering involuntary
   11 muscle contractions, causing him to be unable to move his body, including his
   12 throat, neck and back muscles. On information and belief, officer DOE #1
   13 continued to discharge his TASER X26 multiple times, causing continued
   14 involuntary muscle contractions or temporary paralysis of Mr. Aguilar’s body.
   15         18. On information and belief, as a result of the continued discharge of the

   16 TASER X26, with the resulting temporary paralysis, and the multiple head strikes
   17 to Mr. Aguilar and other use of force by Officers DOE #1 and DOE #2, the small
   18 bindle of heroin became lodged in Mr. Aguilar’s throat, and Mr. Aguilar became
   19
        incapacitated such that he could not “cough” it out. The plastic bindle obstructed

   20
        his airway, preventing him from breathing, and ultimately caused his death by
        asphyxiation.
   21
              19. On information and belief, while Mr. Aguilar’s airway was obstructed,
   22
        preventing him from breathing, he began gasping for air, choking, and/or otherwise
   23
        demonstrating his immediate and serious medical need, and at some point he lost
   24
        consciousness. Despite the obviousness of the necessity for emergency medical
   25
        intervention, Officers DOE #1 and DOE #2 failed to discontinue their use of force
   26
        and failed to take any actions to dislodge to bindle of controlled substance or
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    1 summon emergency medical assistance in a timely fashion. Consequently, they
    2 watched Mr. Aguilar stop breathing and die.
    3           20. At 7:59 p.m., Mr. Aguilar was pronounced dead. The cause of death was
    4 determined by the Los Angeles County Medical Examiner-Coroner to be
    5 Asphyxia.
    6             VI. PARTICIPATION, STATE OF MIND AND DAMAGES
    7           21. All Defendants acted without authorization of law.
    8           22. Each Defendant participated in the violations alleged herein, or directed
    9 the violations alleged herein, or knew of the violations alleged herein and failed to
   10 act to prevent them. Each Defendant ratified, approved or acquiesced in the
   11 violations alleged herein.
   12           23. As joint actors with joint obligations, each Defendant was and is
   13 responsible for the failures and omissions of the other.
   14           24. Each Defendant acted individually and in concert with the other
   15 Defendants and others not named in violating Plaintiffs’ rights.
   16           25. Each Defendant acted with deliberate indifference to or, reckless

   17 disregard for, a person’s right to adequate medical care in a custodial facility, Mr.
   18 Aguilar’s serious medical need, and the risk of harm to Mr. Aguilar as a result of
   19
        defendants’ actions and inactions.

   20
                26. As a direct and proximate result of the aforesaid acts, omissions,
        customs, practices, policies and decisions of the Defendants, Mr. Aguilar suffered
   21
        great fear, physical and mental suffering, anguish, confusion, anxiety, nervousness,
   22
        and ultimately, loss of life during the time period in which officers of the LAPD
   23
        used force on him and failed to provide appropriate medical care and treatment for
   24
        his urgent medical condition, and in particular, suffered acute and unmitigated
   25
        mental and physical suffering during the hours preceding his death on June 9,
   26
        2016.
   27

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    1         27. As a direct and proximate result of the aforesaid acts, omissions,
    2 customs, practices, policies and decisions of the Defendants, Plaintiffs have
    3 suffered great mental and physical pain, suffering, anguish, fright, nervousness,
    4 anxiety, shock, humiliation, indignity, embarrassment, harm to reputation, and
    5 apprehension, which have caused Plaintiffs to sustain damages in a sum to be
    6 determined at trial.
    7         28. Due to the acts of the Defendants, Plaintiffs have suffered, and continue
    8 to suffer, and are likely to suffer in the future, extreme and severe mental anguish.
    9         29. As a further result of the conduct of each of these Defendants, Plaintiffs
   10 have been deprived of familial relationships, including the loss of their father, Alex
   11 Aguilar, and the emotional impact on their family unit as a whole.
   12         30. The aforementioned acts of the Defendants, and each of them, was
   13 willful, wanton, malicious, oppressive, in bad faith and done with reckless
   14 disregard for or with deliberate indifference to the constitutional rights of Mr.
   15 Aguilar and the Plaintiffs, entitling Plaintiffs to exemplary and punitive damages
   16 from each defendant other than Defendant CITY in an amount to be proven at the
   17 trial of this matter.
   18         31. By reason of the above described acts and omissions of Defendants,

   19
        Plaintiffs were required to retain an attorney to institute and prosecute the within

   20
        action, and to render legal assistance to Plaintiffs that they might vindicate the loss
        and impairment of their and Mr. Aguilar’s rights, and by reason thereof, Plaintiffs
   21
        request payment by Defendants of a reasonable sum for attorney's fees pursuant to
   22
        42 U.S.C. §1988, California Code of Civil Procedure §1021.5 and any other
   23
        applicable provision of law.
   24

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    1                             FIRST CLAIM FOR RELIEF
    2               DEPRIVATION OF CIVIL RIGHTS – 42 U.S.C. § 1983
    3
                             (Against Defendant DOES 1-5)

    4
              32. Plaintiffs reallege all the foregoing paragraphs, as well as any
        subsequent paragraphs contained in the complaint, as if fully set forth herein.
    5
              33. Plaintiffs are informed and believe and, based on such information and
    6
        belief, allege that Defendant DOES 1-5 subjected Mr. Aguilar to excessive force
    7
        and unjustified infliction of harm through both beatings and the discharge of the
    8
        TASER X26.
    9
              34. Plaintiffs are informed and believe and, based on such information and
   10
        belief, allege that Defendant DOES 1-5 acted with deliberate indifference to Alex
   11
        Aguilar’s serious medical needs and safety, in that they failed to provide adequate
   12
        medical treatment when Mr. Aguilar was asphyxiating and in fact further
   13
        endangered Mr. Aguilar and contributed to his death by using inappropriate force
   14
        on him while he was asphyxiating, including the use of the TASER X26.
   15
              35. Alex Aguilar was subjected to deprivation of rights by these Defendant
   16
        DOES 1 through 5, and each of them, acting under color of law and of statutes,
   17
        ordinances, regulations, customs and usages of the Law of United States, State of
   18
        California, which rights included, but are not limited to, privileges and immunities
   19
        secured to Alex Aguilar by the Fourth or Fourteenth Amendments to the United
   20
        States Constitution and laws of the United States, and particularly his right to
   21
        access to medical care and treatment for his serious but treatable condition which
   22
        was a cause of his serious injury and harm.
   23         36.    Plaintiffs P.A. and ALEX AGUILAR JR. allege that these
   24 Defendants’ wrongful conduct legally caused a deprivation of their constitutionally

   25 protected liberty interest in familial companionship, love and society of their

   26 father.

   27

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    1         37. As a direct and proximate result of acts and omissions of Defendant
    2 DOES 1-10, Plaintiffs sustained injury and damage as alleged herein, in an amount
    3 to be proved.
    4                           SECOND CLAIM FOR RELIEF
    5        DEPRIVATION OF CIVIL RIGHTS -- 42 U.S.C. § 1983 – MONELL
                                 VIOLATIONS
    6
                            (Against Defendant CITY)
    7
              38. Plaintiffs reallege all the foregoing paragraphs, as well as any
    8
        subsequent paragraphs contained in the complaint, as if fully set forth herein.
    9
              39. Plaintiffs are informed and believe, and thereon allege, that, at all times
   10
        herein mentioned, Defendant CITY OF LOS ANGELES and Los Angeles Police
   11
        Department, with deliberate indifference to, and/or conscious or reckless disregard
   12
        for the safety and constitutional rights of Alex Aguilar, maintained, enforced,
   13
        tolerated, ratified, permitted, acquiesced in, and/or applied unconstitutional
   14
        policies, practices and customs, including, but not limited to:
   15
              a. Subjecting citizens, including Mr. Aguilar, to unreasonable uses of force
   16
                  against their persons;
   17
              b. The failure to require proper assessment of the need for urgent medical
   18
                  care and treatment of a detainee/inmate prior to or during the booking
   19
                  process;
   20
              c. The failure to provide medical care for detainees with serious medical
   21
                  needs and/or to provide them access to medical care and treatment;
   22
              d. The failure to institute, require and enforce proper and adequate training,
   23
                  supervision, policies, and procedures concerning applying force,
   24
                  including with respect to the use of an electronic control device, such as a
   25             TASER X26, on a person who has attempted to swallow a foreign object
   26             or who is asphyxiating;
   27

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      1      e. The failure to institute, require and enforce proper and adequate training,
      2         supervision, policies, and procedures concerning the handling of
      3         detainees who are in LAPD custody who manifest or complain of serious
      4         medical conditions;
      5      f. The cover-up of violations of constitutional rights by any or all of the
      6         following:
      7               i.     By failing to properly investigate and/or evaluate complaints
      8                      or incidents related to the claimed customs, policies, practices,
      9                      and procedures described above in paragraphs (a) through (e);
     10               ii.    By ignoring and/or failing to properly and adequately
     11                      investigate and discipline unconstitutional or unlawful activity
     12                      at the CITY and/or LAPD as described above in paragraphs
     13                      (a) through (e);
     14               iii. By allowing, tolerating, and/or encouraging police officers
     15                      and jail personnel to: fail to file complete and accurate
     16                      reports; file false reports; make false statements; intimidate,
     17                      bias and/or “coach” witnesses to give false information and/or
     18                      to attempt to bolster officers’ stories; and/or obstruct or
     19                      interfere with investigations of unconstitutional or unlawful
     20                      police conduct, by withholding and/or concealing material
     21                      information;
     22   g. To allow, tolerate and/or encourage a “code of silence” among law
     23      enforcement officers and LAPD personnel, whereby an officer or member of
     24      the department does not provide adverse information against a fellow officer
     25      or member of LAPD;
     26

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      1       h. To use or tolerate inadequate, deficient and improper procedures for
      2          handling, investigating and reviewing complaints of officer misconduct,
      3          including claims made under Cal. Gov. Code § 910 et seq.; and,
      4       i. To condone lax or lack of supervision by line supervisors who fail to report
      5          or investigate officers and subordinate supervisors who fail to provide
      6          reasonable security and/or protection resulting in detainee injury and/or
      7          death.
      8         40. The actions of the CITY OF LOS ANGELES including the Los
      9 Angeles Police Department set forth herein were a moving force behind the
     10 violations of Plaintiffs’ and Alex Aguilar’s constitutional rights as set forth in this
     11 complaint.
     12         41. As a direct and proximate result of Defendant CITY OF LOS
     13 ANGELES’ policies, practices, and customs, Plaintiffs sustained injury and
     14 damage as alleged herein, in an amount to be proved.
     15
     16
                                   THIRD CLAIM FOR RELIEF

     17
                 DEPRIVATION OF CIVIL RIGHTS – 42 U.S.C. § 1983 –
             FAILURE TO SUPERVISE, TRAIN AND TAKE CORRECTIVE
     18        MEASURES CAUSING CONSTITUTIONAL VIOLATIONS
     19
        (Against Defendant Chief Charlie Beck and Supervisory Defendant DOES 6-
                                           10)
     20

     21         42. Plaintiffs reallege all the foregoing paragraphs, as well as any
          subsequent paragraphs contained in the complaint, as if fully set forth herein.
     22
                43. Plaintiffs are informed and believe and thereon allege that Defendant
     23
          Chief Charlie Beck and supervisory Defendants DOES 6-10 knew, or in the
     24
          exercise of reasonable care, should have known of a history and propensity and
     25
          pattern at the time of this incident for employees of the Los Angeles Police
     26
          Department to fail to provide reasonable security, monitoring and supervision of
     27
          detainees such as Alex Aguilar; to fail to comply in implementing policies and
     28
                                                   10
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      1 procedures or ensuring the enforcement thereof; to fail to train and supervise police
      2 officers with regard to the improper use of a TASER in order to prevent the
      3 foreseeable and preventable death of Alex Aguilar; to fail to train and supervise
      4 police officers with regard to the use of force; and to fail to train and supervise
      5 police officers with regard to providing adequate medical care. Defendants’
      6 disregard of this knowledge or failure to adequately investigate and discover and
      7 correct such acts or failures to act was a moving force which caused the violation
      8 of Plaintiffs’ and Alex Aguilar’s constitutional rights.
      9         44. Plaintiffs are further informed and believe and thereon allege that
     10 Defendants BECK and DOES 6-10, knew, or in the exercise of reasonable care
     11 should have known, of a pattern or practice of unconstitutional violations, or the
     12 existence of facts which create the potential of unconstitutional acts, and these
     13 Defendants and DOES 6-10 had a duty to train and instruct their subordinates to
     14 prevent similar acts to other inmates, but failed to take steps to properly train,
     15 supervise, investigate or instruct police officers, and/or agents or employees, and to
     16 retain police officers who had a history of inappropriate conduct, and as a result
     17 Alex Aguilar was harmed in the manner threatened by the pattern or practice.
     18         45. As a direct and proximate result of the conduct of Defendant BECK

     19
          and Does 6-10, as described above, Plaintiffs sustained injury and damage as

     20
          alleged herein, in an amount to be proved.
                                  FOURTH CLAIM FOR RELIEF
     21
                                           NEGLIGENCE
     22
                                 (Against All Individual Defendants)
     23
                46. Plaintiffs reallege all the foregoing paragraphs, as well as any
     24
          subsequent paragraphs contained in the complaint, as if fully set forth herein.
     25
                47. Defendants BECK and DOES 1-10, had a duty to provide reasonable
     26
          security and render access to and delivery of medical care, treatment and/or
     27
          emergency services to Alex Aguilar for his medical condition but breached their
     28
                                                   11
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      1 duty and were negligent in the performance of their duties and this negligence
      2 caused the death of Alex Aguilar.
      3         48. Defendants BECK and Supervisor DOES 6-10, acting within the course
      4 and scope of their employment with the Los Angeles Police Department, had a
      5 duty to train, supervise, and assure the competence of their employee/agents, but
      6 breached their duty and were negligent in the performance of their duties by
      7 selecting, hiring, training, reviewing, periodically supervising, failing to supervise,
      8 evaluating the competency and retaining their Defendant police officers and/or
      9 employees and/or agents. This breach of the duty of careful selection, hiring,
     10 training, review, supervision, periodic evaluation of the competency, and retention
     11 of such officers and other staff created an unreasonable risk of harm to persons
     12 such as Alex Aguilar.
     13         49. The individually named Defendants breached their duty of care to
     14 provide reasonable security and render access to and delivery of medical care,
     15 treatment and/or emergency services to Alex Aguilar and failed to prevent his
     16 death by asphyxiation.
     17         50. As a direct and proximate result of the aforesaid negligence,

     18 carelessness and unskillfulness of Defendants, and each of them, and as a result of
     19
          their breach of duty of care to Alex Aguilar, Plaintiffs sustained injury and damage

     20
          as alleged herein, in an amount to be proved.
                                     FIFTH CLAIM FOR RELIEF
     21
                     VIOLATION OF CALIFORNIA GOV’T CODE § 845.6
     22
                                (Against All Defendants)
     23
                51. Plaintiffs reallege all the foregoing paragraphs, as well as any
     24
          subsequent paragraphs contained in the complaint, as if fully set forth herein.
     25
                52. At all times mentioned herein, Mr. Aguilar was an arrestee/detainee in
     26
          the custody of the Los Angeles Police Department and Defendants, who were
     27

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      1 acting within the course and scope of their employment with the Los Angeles
      2 Police Department.
      3          53. Prior to his death, Defendant DOES 1-10 knew or had reason to know
      4 that Mr. Aguilar was in need of immediate medical care and that he was exhibiting,
      5 manifesting, and/or complained that he was suffering from a serious medical
      6 condition.     Nevertheless, these Defendants failed to take reasonable action to
      7 summon such medical care.
      8          54. Defendants’ conduct was in violation of California Government Code
      9 § 845.6, and as a direct and proximate result of such violation, Plaintiffs sustained
     10 injury and damage as alleged herein, in an amount to be proved.
     11                              SIXTH CLAIM FOR RELIEF
     12                VIOLATION OF CALIFORNIA CIVIL CODE § 52.1
     13                      (Against All Individual Defendants)

     14          55. Plaintiffs reallege all the foregoing paragraphs, as well as any
     15 subsequent paragraphs contained in the complaint, as if fully set forth herein.
     16          56. Defendants, by their conduct, interfered by threats, intimidation, or
     17 coercion, or attempted to interfere by threats, intimidation or coercion, with the
     18 exercise or enjoyment of the decedents rights as secured by, inter alia, the Fourth
     19 and Fourteenth Amendments to the United States Constitution, the laws of the
     20 United States, Article 1, § 13 of the California Constitution, California Civil Code

     21 § 43, and the laws of the State of California, including the decedent’s right to be

     22 secure in his person, free from bodily restraint and harm, and free from excessive

     23 force.

     24          57. Defendants’ conduct was in violation of Cal. Civ. Code § 52.1, and as a
     25 direct and proximate result of such violation, Plaintiffs sustained injury and

     26 damage as alleged herein, in an amount to be proved.

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      1                             SEVENTH CLAIM FOR RELIEF
      2                               ASSAULT AND BATTERY
      3
                                       (Against All Defendants)

      4          58.   Plaintiffs reallege all the foregoing paragraphs, as well as any
      5 subsequent paragraphs contained in the complaint, as if fully set forth herein.
      6          60. The City of Los Angeles is liable for the violations of its employees
      7 under California Government Code Section 815.2(a).
      8          61. Defendant DOES 1-5, acting within the scope of their employment as
      9 law enforcement officers for the Los Angeles Police Department, assaulted and
     10 battered Alex Aguilar, causing injury.
     11          62. As a direct and proximate result of the aforementioned acts of
     12 defendants, Plaintiffs sustained injury and damage as alleged herein, in an amount
     13 to be proved.
     14                                 PRAYER FOR RELIEF
     15         WHEREFORE Plaintiffs pray for judgement against Defendants, and each of
     16 them, according to proof, as follows:
     17         1.     General and compensatory damages in an amount according to proof;
     18         2.     Special damages in an amount according to proof;

     19         3.     Exemplary and punitive damages against each Defendant, except the

     20 CITY OF LOS ANGELES, in an amount according to proof;

     21         4.     Costs of suit, including attorneys’ fees, under 42 U.S.C. § 1988,
          California Code of Civil Procedure § 1021.5 and any other applicable provision of
     22
          law; and,
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      1     5.    Such other relief as may be warranted or as is just and proper.
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                                              Respectfully submitted,
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      4                                KAYE, McLANE, BEDNARSKI & LITT, LLP
      5
      6 DATED: June 13, 2017             By: / s /    Ronald O. Kaye
                                                      RONALD O. KAYE
      7
                                                Attorneys for Plaintiffs
      8                                         P.A. and Alex Aguilar
      9
     10
     11
                                        JURY DEMAND
     12
            Trial by jury of all issues is demanded.
     13
     14                                KAYE, McLANE, BEDNARSKI & LITT, LLP
     15
     16 DATED: June 13, 2017                 By: / s /    Ronald O. Kaye
                                                     RONALD O. KAYE
     17
                                                     Attorneys for Plaintiffs
     18                                              P.A. and Alex Aguilar
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